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 8

 9                               UNITED STATES DISTRICT COURT
10                            NORTHERN DISTRICT OF CALIFORNIA
11                                       OAKLAND DIVISION
12   IN RE: CATHODE RAY TUBE (CRT)                  Master File No. 07-CV-5944-JST
     ANTITRUST LITIGATION
13   ____________________________________           MDL No. 1917
14   This Document Relates to:                      DIRECT PURCHASER PLAINTIFFS’
                                                    REPLY BRIEF IN SUPPORT OF MOTION
15                                                  FOR ORDER AUTHORIZING
     ALL DIRECT PURCHASER ACTIONS
                                                    DISTRIBUTION OF SETTLEMENT FUNDS
16
                                                    Date:      May 26, 2022
17                                                  Time:      2:00 p.m.
18                                                  Judge:     Honorable Jon S. Tigar
                                                    Courtroom: 6 - 2nd Floor
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     DIRECT PURCHASER PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF MOTION FOR ORDER AUTHORIZING
                 DISTRIBUTION OF SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
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 1                              STATEMENT OF ISSUES TO BE DECIDED

 2            1.     Whether to adopt and approve the Settlement Administrator’s recommendations

 3   regarding the ineligibility of the claims, as set forth in Exhibit B to the Christman Declaration.

 4            2.     Whether to authorize payment of all claims approved by the Settlement

 5   Administrator from the settlement funds according to the pro rata Plan of Allocation and as set

 6   forth in Exhibit D to the Christman Declaration.

 7            3.     Whether the Settlement Administrator shall be reimbursed for costs and expenses

 8   incurred in the amount of $1,291,445.86.

 9            4.     Whether to reserve $70,660.76 for the payment of additional claims administration

10   costs and expenses, and $250,000.00 for potential tax liability and other issues.

11                                               REPLY BRIEF

12   I.       INTRODUCTION

13            Direct Purchaser Plaintiffs (“Plaintiffs”) respectfully submit this Reply Brief in support of

14   their Motion for an Order Authorizing Distribution of Settlement Funds (ECF No. 6005) (“Motion”

15   or “Mot.”). No objection to the Motion has been filed to date. The Court should therefore enter an

16   order authorizing payment of approximately $142 million to the 1,834 approved claimants.

17   II.      STATEMENT OF RELEVANT FACTS

18            After Plaintiffs filed their Motion, the following documents were posted on the CRT

19   settlement website (www.CRTDirectPurchaserAntitrustSettlement.com) maintained by the

20   Settlement Administrator: the Notice of Motion and Motion, the Memorandum of Points and

21   Authorities in Support Thereof, the Declaration of Rachel Christman re: Claims Processing and

22   Distribution of the Net Settlement Funds (“Christman Declaration”), and the [Proposed] Order

23   Granting Direct Purchaser Plaintiffs’ Motion for Order Authorizing Distribution of Settlement

24   Funds. Declaration of Rachel Christman re: Posting of Documents to Settlement Website ¶ 2

25   (“Christman Reply Declaration”).

26            The Settlement Administrator has responded to inquiries from class members regarding the

27   status of the proposed distributions as well as the calculations of their proposed pro rata payments.

28   Id. ¶ 3. The deadline to oppose the Motion has passed and no opposition or objections were filed.
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     DIRECT PURCHASER PLAINTIFFS’ REPLY BRIEF IN SUPPORT OF MOTION FOR ORDER AUTHORIZING
                 DISTRIBUTION OF SETTLEMENT FUNDS; Master File No. 07-CV-5944-JST
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 1   III.   ARGUMENT

 2          Plaintiffs’ proposed distribution is fair, adequate and reasonable, and gives no preferential

 3   treatment to any individual claimant. All approved claimants are entitled to a pro rata share of the

 4   Net Settlement Funds, less expenses and reserve, according to the pro rata Plan of Allocation. Mot.

 5   at 13–14. The pro rata Plan of Allocation previously approved by the Court will compensate class

 6   members based on the extent of their injuries. Id. at 13 (citing In re Anthem, Inc. Data Breach

 7   Litig., 327 F.R.D. 299, 332 (N.D. Cal. 2018)). Notices about the settlements and the claims process

 8   informed the class about the pro rata allocation. Mot. at 5–6. Therefore any objections based on the

 9   previously approved pro rata allocation—if any are filed—should be overruled.

10   IV.    CONCLUSION

11          For the foregoing reasons, Plaintiffs respectfully request that the Court enter the previously

12   submitted [Proposed] Order: 1) approving the Settlement Administrator’s recommendations

13   regarding the ineligibility of claims set forth in Exhibit B to the Christman Declaration; 2)

14   authorizing payment of all claims approved by the Settlement Administrator according to the pro

15   rata Plan of Allocation, as set forth in Exhibit D to the Christman Declaration; 3) authorizing

16   payment to the Settlement Administrator for unreimbursed costs and expenses incurred in the

17   amount of $1,291,445.86; and 4) authorizing Plaintiffs to reserve in escrow $70,660.76 for the

18   payment of additional claims administration costs, as well as $250,000 for potential tax liability or

19   other issues.

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21   Dated: April 21, 2022                              Respectfully submitted,

22
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